UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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KLAUBER BROTHERS, INC.,

                                   Plaintiff,
                 -against-                                                 19 CIVIL 9321

                                                                           JUDGMENT
QVC, INC., QUARATE RETAIL GROUP, INC.,
XCEL BRANDS, LAI APPAREL DESIGN, INC.,
and DOES 1-10,

                                    Defendants.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated November 30, 2020, the Court concludes: Plaintiff

has adequately alleged the existence of a valid copyright over each of the designs at issue in the

case. Plaintiff has alleged substantially similarity with respect to Design A and Design D. As a

matter of law, Defendants' products are not substantially similar to Plaintiff's other five designs.

Plaintiff has failed to plead Defendants' knowledge of or access to its designs sufficient to sustain

Plaintiffs' direct copyright infringement claims. Plaintiff has failed to plead knowledge sufficient

to plausibly allege a contributory copyright infringement claim. Plaintiff's vicarious liability claim

must be dismissed because Plaintiff has failed to allege a primary infringement violation.

Defendants' Motion to Dismiss Plaintiff's First Amended Complaint is GRANTED; accordingly,

this case is closed.

Dated: New York, New York

          November 30, 2020
                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
